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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


   IN RE: DEPUY ORTHOPAEDICS, INC.                         MDL No. 3:11-md-02244-K
   PINNACLE HIP IMPLANT PRODUCTS:
   LIABILITY LITIGATION,                                   Honorable Ed Kinkeade

   This Document relates to:                              PLAINTIFFS’ MOTION AND
                                                          INCORPORATED BRIEF FOR CASE
                     THOMAS HUNGERFORD &                  MANAGEMENT CONFERENCE
                     LAURIE HUNGERFORD,
                     INC., et al.,
                     Case No. 3:15-CV-01905-K


        Plaintiffs Thomas Hungerford and Laurie Hungerford move the Court to set a Case

Management Conference to address outstanding issues concerning the status and management of

these and other unresolved cases in the MDL.

        In support of this motion, counsel states:

        1.      In February 2019, the jury in the fifth bellwether trial in this MDL (a retrial) was

dismissed and was apparently resolved, along with all of the other bellwether cases.

        2.      No further bellwether trials have been set, and undersigned counsel understands

that there are no current efforts to set additional bellwether trials in the future.

        3.      Plaintiffs seek a Case Management Conference to address:

                a.      The appointment by the PEC of a liaison counsel with active and who will

                provide leadership into the next stages of this litigation;

                b.      The process for settling non-bellwether cases, including the Court’s

                settlement plan;



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                c.        The timeline and process for resumption of litigation if the cases do not

                settle;

                d.        Enforcement of CMO 11, which requires Defendants to complete and serve

                Defendant Fact Sheets;

                e.        The Court’s remand plan and timing;

                f.        Common benefit assessments to be imposed on the remaining Plaintiffs’

                cases if and when they resolve.

                          LCvR 7.1(h) CERTIFICATE OF CONFERENCE

        I hereby certify that prior to the filing of this Motion, Altom Maglio, on behalf of all
similarly situated Plaintiffs’ Counsel, contacted Defense Counsel in an attempt to obtain
Defendants’ consent for the requested case management conference. As of the date of filing,
Defense Counsel has not provided Consent.

Dated: June 20, 2019.                          JOHNSON JOHNSON LUCAS & MIDDLETON, P.C.

                                               s/ Leslie W. O’Leary
                                               Leslie W. O’Leary
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                                               Laurie Hungerford




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